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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
                                                                 Case No.         4:19-CR-6049-SMJ-1
 UNITED STATES OF AMERICA,
                                                                 CRIMINAL MINUTES
                                      Plaintiff,                 DATE:     MAY 28, 2020
        -vs-
                                                                 LOCATION: RICHLAND
 IVAN RENTERIA CASTILLO,                                                   VIDEOCONFERENCE
                                      Defendant.
                                                                 MOTION HEARING

                                      Hon. Salvador Mendoza, Jr.
                                                            Kenneth Barger
          Cora Vargas                     02                                            Kimberly Allen
                                                         Cristina Perez- Lopez
      Courtroom Deputy               Law Clerk                 Interpreter              Court Reporter
                                                          Adam Pechtel and Douglas McKinley, appearing via
   Stephanie Van Marter, appearing via telephone
                                                                          videoconference
               Government Counsel                                            Defense Counsel

       [ ] Open Court                          [   ] Chambers                       [XX] Videoconference
Defendant present, appearing by videoconference from the Benton County Jail
Defendant consents to proceeding via videoconference
Mr. Pechtel agrees to admission of the exhibits previously stipulated, but objects to the Government’s recently
produced proposed Exhibit Nos. 5 and 6
Response by Ms. Van Marter – agrees Court may proceed with using only stipulated exhibits
Court: Government’s Exhibit Nos. 1 – 4 and Defendant’s Exhibit No. 1 are admitted. The Court will exclude
Government’s proposed Exhibit Nos. 5 and 6 for this hearing
Mr. Pechtel moves to dismiss Indictment (ECF No. 85)
Ms. Van Marter argues resisting
Rebuttal argument by Mr. Pechtel
Additional comments by Ms. Van Marter
COURT: Defendant’s Motion to Dismiss Indictment, ECF No. 85, is GRANTED IN PART - Count 2 only
of the Superseding Indictment is DISMISSED. The motion is denied to the extent co-defendant Duviel
Humberto Solares Gastelum joined in the motion.
Mr. Pechtel requests leave of court to file a suppression motion
No objection by Ms. Van Marter
Court: counsel shall confer regarding deadlines and submit their proposed deadlines to the Court by Tuesday,
June 2, 2020

[XX] ORDER FORTHCOMING
 CONVENED:      5:03 P.M.      ADJOURNED:          6:15 P.M.
                                                                TIME:    1:12 HR.      CALENDARED        []
